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8                             IN THE UNITED STATES DISTRICT COURT

9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                            No. CR S-99-0433 WBS GGH P

12          vs.

13   SON VAN NGUYEN,

14                  Movant.                                ORDER

15                                                /

16                  By Order, filed on March 7, 2008, United States Magistrate Judge Dale A. Drozd

17   signed an order, directing, inter alia, respondent to file an answer, within thirty days, as movant, a

18   federal prisoner proceeding pro se had filed an amended motion, pursuant to 28 U.S.C. § 2255,

19   on January 18, 2008. Subsequently, Judge Drozd recused himself from this action and this case

20   has been reassigned to the undersigned. See Order, filed on March 10, 2008.

21                  Movant has requested the appointment of counsel. There currently exists no

22   absolute right to appointment of counsel in § 2255 proceedings. See, e.g., Irwin v. United States,

23   414 F.2d 606 (9th Cir. 1969). However, 18 U.S.C. § 3006A authorizes the appointment of

24   counsel at any stage of the case “if the interests of justice so require.” See Rule 8(c), Rules

25   Governing Section 2255 Proceedings. In the present case, the court does not find that the

26   interests of justice would be served by the appointment of counsel at this time.

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1                    Accordingly, IT IS ORDERED that:

2                    1. Notwithstanding his recusal, Judge Drozd’s March 7, 2008, order directing

3    further briefing remains in effect;

4                    2. Movant’s March 13, 2008, request for appointment of counsel is denied

5    without prejudice to a renewal of the request at a later stage of the proceedings.

6    DATED: 03/20/08
                                                           /s/ Gregory G. Hollows
7
                                                           UNITED STATES MAGISTRATE JUDGE
8    GGH:009
     nguy0433.ord+
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